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 7
                                  UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9

10
     ADAM GHADIRI,                                    Case No.:
11
                    Plaintiff,                        COMPLAINT FOR DAMAGES AND
12   vs.                                              INJUNCTIVE RELIEF FOR VIOLATIONS
                                                      OF AMERICANS WITH DISABILITIES
13   SITEONE LANDSCAPE SUPPLY, a                      ACT; CALIFORNIA UNRUH CIVIL
     business entity; DOUG BLACK, an                  RIGHTS ACT; GENERAL NEGLIGENCE
14   individual; TIGLIO LLC, a California liability
     company,
15
                    Defendants
16

17          Plaintiff ADAM GHADIRI (“Plaintiff”) complains of defendants SITEONE
18   LANDSCAPE SUPPLY, a business entity; DOUG BLACK, an individual; TIGLIO LLC, a
19   California liability company, (all defendants collectively referenced herein as “Defendants”) as
     follows:
20
                                                 PARTIES
21
            1.      Plaintiff is a California resident with physical disabilities. He suffers from severe
22
     arthritis in his knees and back. He has been diagnosed with spinal stenosis and myelopathy (nerve
23   damage). He has difficulty walking and uses a cane and a wheelchair for long distance mobility.
24   He suffers daily with pain that requires him to take pain medication. He has a California driver’s
25   license and drives for business activities and for his household errands. Plaintiff has a California

26   handicap parking placard that is prominently displayed in his vehicle.
            2.      Defendant SITEONE LANDSCAPE SUPPLY, is a Landscape Equipment and
27
     Supply Store and is located at 33012 Calle Aviador, San Juan Capistrano, CA 92675.
28

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             3.      Plaintiff is informed and believes and on that basis alleges that defendant DOUG
 1
     BLACK, an individual, is the business license holder of SITEONE LANDSCAPE SUPPLY.
 2
             4.      Plaintiff is informed and believes and on that basis alleges that defendant TIGLIO
 3   LLC, a California liability Company, are the owners of the premises, building, and/or the land
 4   located at 33012 Calle Aviador, San Juan Capistrano, CA 92675.
 5           5.      Plaintiff does not know the true names of all possible defendants, their business

 6   capacities, their ownership connection to the property and the business, or their relative
     responsibilities in causing the access violations herein complained of, and plaintiff alleges a joint
 7
     venture and common enterprise by all defendants. Plaintiff is informed and believes that each of
 8
     the defendants is responsible in some capacity for the events and damages alleged or is a necessary
 9   party for obtaining appropriate relief. Plaintiff shall seek leave to amend the complaint to name
10   and add other defendants when their identities are ascertained.
11                                       JURISDICTION & VENUE

12           6.      This court has subject matter jurisdiction over this action pursuant to 28 U.S. Code
     § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act of 1990,
13
     42 U.S. Code § 12101, et seq.
14
             7.      Pursuant to pendant jurisdiction, an attendant and related cause of action arising
15
     from the same nucleus of transactions is brought under California’s Unruh Civil Rights Act (Civil
16   Code §§51-52) which expressly incorporates the Americans with Disabilities Act.
17           8.      Venue is proper in this court pursuant to 28 U.S. Code § 1391(b) and is founded

18   on the fact that the real property which is the subject of this action is located in this district and
     Plaintiff’s causes of action arose in the district.
19
                                        FACTUAL ALLEGATIONS
20
             9.      Plaintiff went to SITEONE LANDSCAPE SUPPLY in or about April 2022. When
21
     entering the parking lot, Plaintiff noticed there was no handicap parking space, no handicap
22   parking sign indicating where the handicap parking space was, and no van access. The condition
23   of the parking lot, therefore, denied Plaintiff, as a disabled person, full and equal access to the
24   business and caused him difficulty and frustration in his attempts to consummate business there.
             10.     Failing to provide full and properly maintained access to the store amounts to a
25
     violation of the operative American with Disabilities Act Guidelines (“ADAAG”). The lack of an
26
     accessible sales counter also violates the ADAAG. Additionally, these violations demonstrate
27
     Defendants are not implementing any policy of upkeep so as to give disabled persons practical
28

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     access to the given premises and services equal to the access enjoyed by non-disabled persons;
 1
     this amounts to illegal discrimination against disabled persons who wish to patronize SITEONE
 2
     LANDSCAPE SUPPLY as a place of public accommodation.
 3            11.   Plaintiff personally encountered violations of applicable legal obligations and
 4   standards that prevented him from full and equal access to convenient, safe, adequate, and
 5   appropriate facilities. Plaintiff would like to patronize this establishment again but cannot do so

 6   until the Defendants remove these barriers or obstacles to proper access equal for everyone and
     correct all violations of law. Plaintiff seeks to have all barriers and obstacles related to disabled
 7
     persons remedied, whichever may exist, regardless of whether he personally encountered any of
 8
     them. See Doran v. 7-11, 506 F3d 1191 (9th Cir 2007), holding that once a handicapped plaintiff
 9   encounters one barrier to equal access at a given site, he can sue to have all other barriers relating
10   to his disability removed even if he did not personally encounter those barriers on the given
11   occasion. Additionally, Plaintiff believes and alleges that Defendants’ failure to remedy and

12   remove the specific barriers (difficulties) to access for disabled persons, as mentioned in the
     Paragraphs above, is intentional because (a) these particular barriers are obvious, and (b)
13
     Defendants, jointly and severally, exercised full control and dominion over the conditions on the
14
     land and at the business at this particular location, and therefore the lack of and barriers to full
15
     equal access for disabled persons was not mere “accidental oversight”, given that had Defendants
16   intended any other situation they had the means and ability to make the land and business fully
17   compliant with the legal requirements mandated by the laws, as set forth in the causes of action

18   below.
                                  FIRST CAUSE OF ACTION
19
              VIOLATION OF THE AMERICANS WITH DISABILITES ACT OF 1990
20                   (Against All Defendants (42 U.S. Code § 12101, et seq.))

21            12.   Plaintiff realleges and incorporates by reference the allegations contained in all

22   prior paragraphs of this complaint.
              13.   Defendants own, operate, lease from, or lease to a place of public accommodation
23
     commonly known as SITEONE LANDSCAPE SUPPLY. Under the ADA, it is an act of
24
     discrimination for any person(s) who owns, leases (or leases to), or operates a place of public
25   accommodation to deny to disabled persons the full and equal enjoyment of the goods, services,
26   facilities, privileges, advantages, or accommodations of any place of public accommodation. 42
27   U.S. Code § 12182(a). U.S. Code § 12182(b) defines discrimination, inter alia, as follows:

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                    a.      A failure to make reasonable modifications in policies, practices, or
 1
            procedures, when such modifications are necessary to afford such goods, services,
 2
            facilities, privileges, advantages, or accommodations to individuals with
 3          disabilities, unless the entity can demonstrate that making such modifications
 4          would fundamentally alter the nature of such goods, services, facilities, privileges,
 5          advantages, or accommodations. 42 U.S. Code § 12182(b)(2)(A)(ii).

 6                  b.      A failure to remove architectural barriers, and communication
            barriers that are structural in nature, in existing facilities, …where such removal is
 7
            readily achievable. See 42 U.S. Code § 12182(b)(2)(A)(iv). Barriers can be defined
 8
            by reference to the ADAAG, found at 28 Code Federal Regulations, Part 36,
 9          Appendix D.
10                  c.      A failure to design and construct facilities for first occupancy, if
11          later than 30 months after July 26, 1990, that are readily accessible to and usable

12          by individuals with disabilities, except where an entity can demonstrate that it is
            structurally impracticable to meet the requirements of such subsection in
13
            accordance with standards set forth or incorporated by reference in regulations
14
            issued under this subchapter. 42 U.S. Code § 12183(a)(1).
15
            14.     Defendants are persons or business entities that own, operate, or lease a place of
16   public accommodation. As such, Defendants are required to avoid discrimination and have
17   specific duties to (1) ensure that all construction, alteration, or modification is barrier-free as to

18   disabled persons and complies with the currently operative ADAAG; and/or (2) remove all
     existing barriers to disabled persons where such removal is readily achievable, and/or (3) to
19
     provide alternatives to barrier removal for the benefit of the disabled persons so that they do enjoy
20
     equal access at places of public accommodation. Defendants have failed to meet these obligations.
21
     Consequently, Plaintiff is entitled to court-ordered relief against the defendants, to make sure that
22   within six months from the beginning of this action the defendants render their public
23   accommodation premises fully compliant with the ADA.
24   //

25   //

26   //
27

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                                  SECOND CAUSE OF ACTION
 1                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 2                        (Against All Defendants (Cal Civil Code § 51-53))

 3          15.     Plaintiff realleges and incorporates by reference the allegations contained in all
     prior paragraphs of this complaint.
 4
            16.     Because Defendants violated Plaintiff’s rights under the ADA, they also violated
 5
     the Unruh Civil Rights Act and are liable for damages. Civil Code § 51(f), 52(a).
 6
            17.     Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 7   discomfort, and embarrassment for the plaintiff, the defendants are also responsible for statutory
 8   damages, i.e., civil penalties. See Civil Code § 51(f), 52(a).
 9
                                      THIRD CAUSE OF ACTION
10                                     GENERAL NEGLIGENCE
                                        (Against All Defendants)
11
            18.     Plaintiff realleges and incorporates by reference the allegations contained in all
12
     prior paragraphs of this complaint.
13
            19.     Defendants owe a duty of care to Plaintiff, arising under the ADA and Unruh Civil
14   Rights Act, to provide safe, convenient, and accessible facilities. Their violations of this duty, as
15   alleged in the preceding paragraphs of this complaint, has caused inconvenience, injury, and
16   damage to Plaintiff in the amount of at least minimal amounts of damages allowed by applicable

17   statutes, the exact amount to be determined at the trial.

18
                                           PRAYER FOR RELIEF
19
            WHEREFORE, Plaintiff prays that this court award damages and provide relief against
20   all named Defendants, jointly and severally, as follows:
21          1. For mandatory injunctive relief, compelling Defendants jointly and severally to comply
22   with the Americans with Disability Act and the California Unruh Civil Rights Act by fully

23   correcting all violations of the requirements of these laws within six months of being served with
     Summons and Complaint in this action, and that said Defendants be required to report to Plaintiff
24
     and to the Court of the actual status of the correction of the defects charged in this Complaint on
25
     the next day after the six month period has expired.
26          2. For damages under the Americans with Disability Act and/or the Unruh Civil Rights
27   Act where applicable, which statutes provide for actual damages and a statutory minimum of
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     $4,000 per violation. If the Plaintiff cannot recover under both Unruh and ADA, simultaneously,
 1
     an election will be made prior to or at trial, at an appropriate stage in these legal proceedings.
 2
            3. For damages for general negligence, in the amount of at least minimal amounts of
 3   damages allowed by applicable statutes, or alternatively $8,000, the exact amount to be
 4   determined at trial.
 5          4. For reasonable litigation expenses and costs of suit pursuant to 42 U.S. Code § 12205,

 6   Cal Civil Code § 52, and Cal Code of Civil Procedure § 1021.5. For reasonable attorneys’ fees
     pursuant to 42 U.S. Code § 12205, Cal Civil Code § 52, and Cal Code of Civil Procedure § 1021.5,
 7
     in the amount of $4,000.
 8
            5. For such other and further relief as the court deems just and proper.
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            Dated: 12/02/2022                                   _____________________
15                                                              Joseph Bakhos, Esq.
                                                                Attorney for Plaintiff
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